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                IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

IN RE:                                           )
                                                 )
ALEXANDER LOUIS BEDNAR,                          ) Case No. 15-11916-TRC
                                                 ) Chapter 7
                 Debtor.                         )
                                                 )
ALEXANDER L. BEDNAR,                             )
                                                 )
                   Plaintiff,                    )
                                                 )
-vs-                                             ) Adv. No. 18-01096-TRC
                                                 )
FRANKLIN AMERICAN MORTGAGE                       )
COMPANY;  FEDERAL   NATIONAL                     )
MORTGAGE          ASSOCATION;                    )
OKLAHOMA COUNTY SHERIFF; AND                     )
RCB BANK,                                        )
                                                 )
                 Defendants.                     )

  DEFENDANTS, FEDERAL NATIONAL MORTGAGE ASSOCIATION
 AND FRANKLIN AMERICAN MORTGAGE COMPANY’S COMBINED
        RESPONSE TO PLAINTIFF’S REQUEST FOR STAY

       COME NOW Defendants, Federal National Mortgage Association (“Fannie
Mae”), and Franklin American Mortgage Company (“Franklin”) (Fannie Mae and
Franklin are sometimes collectively referred to herein as “Defendants”), by and
through its undersigned counsel of record, and respectfully responds to Plaintiff,
Alexander L. Bednar’s (“Bednar”) Motion for Stay, Preliminary Injunction
Pending Appeal and Consideration of Sanctions Against Fannie Mae and Franklin
American for Inappropriate Actions Regarding a Subpoena, filed herein on March
15, 2019 [Doc. 62] (the “Motion”). In support of this Response, Defendants rely

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upon the pleadings and documents on file in this action and on filed in connection
with Case No. CJ-2016-5004 (the “Foreclosure Action”), in the District Court of
Oklahoma County, Oklahoma (the “State Court”), as well those in the underlying
Chapter 7 Bankruptcy, 15-11916.

                                            INTRODUCTION

        “We are convinced, under a clear and convincing standard, of [Bednar’s]
sustained abuse of the legal system and retaliatory harassment of opposing counsel
and the courts.” See, State ex rel. OBA v. Bednar, 2019 OK 12, ___ P.3d ___,
March 12, 2019, Order of Disbarment, p. 48 (unpublished). 1 Despite this scathing
fifty (50) page ruling by the Oklahoma Supreme Court permanently disbarring
Bednar on nine separate counts, he remains defiant and continues his abhorrent
behavior herein.
        Bednar’s Motion, and its corresponding request for expedited hearing
[Doc. 66]       constitutes        no less        than       five    (5)    requests       by Bednar            for
injunctive/expedited/emergency relief regarding the real property described herein
as the “Esperanza property.” This adversary proceeding was brought by Bednar
for what he asserts is a discharge violation. However, in this filing Bednar is now
seeking a stay to enjoin the sale of real property of which he has no interest, and
which was abandoned from the estate in the underlying Chapter 7 Bankruptcy by



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  As this document is a public record and is referenced in the Complaint [Doc. 1 [Complaint, pg. 5 at ¶ 2],
Defendants ask that this Court take judicial notice of this document. In re Chesapeake Energy Corp. 2012 ERISA
Class Litig., No CIV-12-688-M, 2013 WL 5596908, at *5 (W.D. Okla. Oct. 11, 2013)(“On a motion to dismiss
pursuant to Rule 12(b)(6), ‘courts must consider the complaint in its entirety, as well as other sources courts
ordinarily examine when ruling on Rule 12(b)(6) motions to dismiss, in particular, documents incorporated in the
complaint by reference, and matters of which a court may take judicial notice.’”). A court may take judicial notice
of documents that are referred to in the complaint, even if those documents were not attached to the complaint or
explicitly incorporated by reference. See Pace v. Swerdlow, 519 F.3d 1067, 1072 (10th Cir. 2008). Further, a court
may take judicial notice of documents that are “capable of accurate and ready determination by resort to sources
whose accuracy cannot reasonably be questioned.” Fed. R. Evid. 201(b).

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order of this Court on September 14, 2015. See, In re Bednar, No. 15-11916,
(Bankr. W.D. Okla., 2015), Doc. 93.
       Bednar’s attempts to impose a stay are again but a futile attempt to have this
Court revisit his arguments which have been made, rejected, and final orders
entered. His likelihood of success on the merits is simply zero.
       Further, as previously noted by this Court, Bednar continues to confuse the
collection of a debt with the enforcement of a security instrument.

                       ARGUMENTS AND AUTHORITIES

I.     Bednar Has No Interest In The Real Property And The Property Has
       Been Abandoned From The Bankruptcy Estate.
       In its Order Denying Request for Emergency Relief [Doc. 40, p. 6], this
Court stated:

           Putting aside Franklin’s foreclosure judgment which
           divested him of any interest in the property, he told this
           Court that he deeded the property to his daughter’s trust on
           August 1, 2018.
Further, as this Court found in its Order of Dismissal with Prejudice [Doc. 42, p.
10]:

           Bednar lacks standing to challenge actions regarding the
           Esperanza property since he has no ownership interest in
           that property.
And finally, this Court stated that “Bednar lacks standing to challenge actions
regarding the Esperanza property since he has no ownership interest in that
property.” Doc. 40, p. 9.
       It is abundantly clear neither Bednar nor the bankruptcy estate has standing
to assert any interest in the Esperanza property and the requested stay should be
denied.


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II.    Bednar’s Likelihood Of Success Is Non-Existent.
       Bednar offers no new or unique arguments giving rise to any enhanced
chance of future success. Bednar’s attempts to have this Court review and reverse
the final orders of various Oklahoma state courts has been well documented in this
Adversary Proceeding by both Judge Hall Docket Entry [Doc. 12] and Judge
Cornish [Doc. 40 and 42]. Having already had his arguments thoroughly reviewed
and rejected by two separate bankruptcy judges, and offering no new arguments,
Bednar’s likelihood of prevailing on the merits does not exist.

III.   Discharge Violation.
       As this Court noted:

           Bednar has a fundamental misconception of mortgages and
           foreclosure law.
Doc. 40, p. 8. Throughout his Motion, Bednar repeatedly asserts the misguided
argument that Defendants are seeking to collect the debt as a personal liability of
Bednar and are thus in violation of the discharge injunction. See, Motion, Doc. 62,
p. 1, ¶2; p. 2, ¶1; p. 6 – 7. This Court previously noted that Franklin obtained an
in-rem judgment of foreclosure against Bednar [Doc. 42, p.3]. As stated by the
court in In re Van Winkle, 583 B.R. 759 (10th Cir. BAP 2018), a creditor who
forecloses on an in-rem basis did not violate the discharge injunction. Therefore,
this Court should deny Bednar’s request for a stay on these grounds.

IV.    False Allegations Supporting Sanctions.
       Bednar’s claims of “clear ethical violations by Defendants,” [Doc. 62, p. 8],
relate to information sought by Defendants to prove Bednar’s blatant falsities to
the Bankruptcy Appellate Panel for the 10th Circuit (the “BAP”). These allegations
are no more than a continuation of Bednar’s proven “sustained abuse of the legal

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system and retaliatory harassment of opposing counsel and the courts.” See, State
ex rel. OBA v. Bednar, supra, p. 48 (unpublished). Bednar argues that Defendants
are in violation of Rules 26 and 45 of the Federal Rules of Civil Procedure, and
that this is sanctionable conduct. See, Doc. 62, p. 8 - 10.
      The Federal Rules of Civil Procedure state:

          Objections. A person commanded to produce documents or
          tangible things or to permit inspection may serve on the
          party or attorney designated in the subpoena a written
          objection to inspecting, copying, testing, or sampling any or
          all of the materials or to inspecting the premises--or to
          producing electronically stored information in the form or
          forms requested. The objection must be served before the
          earlier of the time specified for compliance or 14 days after
          the subpoena is served.
Fed. R. Civ. P. 45(d)(2)(B) (emphasis added). Pursuant to Rule 45, the only
person with standing to object to the issuance of a subpoena is the person
commanded to produce documents or tangible things. The entity upon which the
subpoena was served, issued no written objection thereto, neither during the time
within which it was permitted, nor at any time thereafter.
      Rule 26 further states:

          A party may not seek discovery from any source before the
          parties have conferred as required by Rule 26(f), except in a
          proceeding exempted from initial disclosure under Rule
          26(a)(1)(B),
Fed. R. Civ. P. 26(d)(1) (emphasis added). Doc. 40, p. 8. Rule 26(a)(1)(B) lists the
instances when the parties are exempted from the initial disclosure, and
specifically states that “a proceeding ancillary to a proceeding in another court” is
exempt. Fed. R. Civ. P. 26(a)(1)(B)(viii).



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      The subpoena issued by Defendants was issued out of this Adversary
Proceeding, which is ancillary to the underlying foreclosure 15-11916, as well as
ancillary to the appeal to the pending before the BAP. Therefore, the subpoena
was not issued in violation of Rule 26, as it was exempt from the discovery
conference requirement. Bednar has failed to identify any violations of Rule 45 or
Rule 26, nor has he identified any conduct which support his request for sanctions
against Defendants, or any of the other requested relief therein.

                                  CONCLUSION

      For the foregoing reasons, Bednar’s Motion should be denied, and this Court
should grant Defendants such other relief as it deems just.
      This 29th day of March, 2019.



                                 ____s/Jim Timberlake_________________
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                         CERTIFICATE OF SERVICE

      This is to certify that I did, on this 29th day of March, 2019, electronically
transmit the above and foregoing document, with any and all attachments, to the
Clerk of Court using the ECF System for filing and transmittal of a Notice of
Electronic Filing to the following ECF registrants:

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                                       /s Jim Timberlake__________________




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